
673 S.E.2d 134 (2009)
Sarona R. KELLEY, Employee
v.
WAKE COUNTY SHERIFF'S DEPARTMENT, Self-Insured Employer.
Administered by: The Schaffer Companies, Ltd. (previously administered by Compensation Claims Solutions).
No. 64P08.
Supreme Court of North Carolina.
February 5, 2009.
Bambee B. Blake, Ginny P. Lanier, Cary, Roger A. Askew, Scott W. Warren, Raleigh, for Sheriff's Department.
George W. Lennon, Raleigh, Michael W. Bertics, for Kelley.

ORDER
Upon consideration of the petition filed by Defendant (Sheriff's Department) on the 18th day of February 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
Upon consideration of the petition filed on the 18th day of February 2008 by Defendant (Sheriff's Department) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
